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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 FELIPE HURTADO, on behalf of himself and all                  COMPLAINT
 others similarly-situated,
                                                               Docket No.:
                          Plaintiff,
                                                               Jury Trial Demanded
            -against-

 183 FOOD MARKET CORP. d/b/a FOOD
 UNIVERSE, and ROBERTO ESPINAL, individually,

                           Defendants.


       FELIPE HURTADO (“Plaintiff”), on behalf of himself and all others similarly-situated

(collectively as “FLSA Plaintiffs” and/or “Rule 23 Plaintiffs,” as those terms are defined below),

by and through his attorneys, STEVENSON MARINO LLP, as and for his Complaint against 183

FOOD MARKET, CORP. d/b/a FOOD UNIVERSE (“Food Universe”), and ROBERTO

ESPINAL, individually (collectively as “Defendants”), alleges upon knowledge as to himself and

his own actions and upon information and belief as to all other matters as follows:

                                       NATURE OF CASE

       1.       This is a civil action for damages and equitable relief based upon violations that

Defendants committed of Plaintiff’s rights guaranteed to him by: (i) the overtime provisions of the

Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 207(a); (ii) the overtime provisions of the New

York Labor Law (“NYLL”), NYLL § 160, N.Y. Comp. Codes R. & Regs. (“NYCRR”) tit. 12, §

142-2.2; (iii) the NYLL’s requirement that employers furnish employees with wage statements

containing specific categories of accurate information on each payday, NYLL § 195(3); (iv) the

NYLL’s requirement that employers furnish employees with a wage notice upon hire containing

specific categories of accurate information on each payday, NYLL § 195(1); and (v) any other


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claim(s) that can be inferred from the facts set forth herein.

       2.       Plaintiff Hurtado worked for Defendants as a stocker from February 2, 2020

through July 15, 2020 at two of the supermarkets Defendants’ operate, which are located at 60

West 183rd Street, Bronx, New York and 2358 University Avenue, Bronx, New York 10468. As

described below, for the duration of his employment period, Defendants willfully failed to pay

Plaintiff the wages lawfully due to him under the FLSA and the NYLL, as Defendants failed to

compensate Plaintiff at the statutorily-required overtime rate of pay for the hours that Plaintiff

worked beyond forty in a workweek.

       3.       Additionally, Defendants violated the NYLL by failing to provide Plaintiff with a

wage statement on each payday that accurately stated the hours that Plaintiff worked each week or

a wage notice upon his date of hire that accurately stated his regular and overtime rates of pay.

       4.       Defendants’ failure to pay overtime was not limited to Plaintiff, but also extended

to all of Defendants’ non-managerial employees.

       5.       Accordingly, Plaintiff brings this lawsuit against Defendants pursuant to the

collective action provisions of the FLSA, 29 U.S.C. § 216(b), on behalf of himself and all other

similarly-situated non-managerial employees during the applicable FLSA limitations period who

suffered damages as a result of Defendants’ violations of the FLSA. Plaintiff additionally brings

his claims under New York law on behalf of himself and any FLSA Plaintiff, as that term is defined

below, who opts into this action.

       6.       Plaintiff also brings this lawsuit as a class action pursuant to Federal Rule of Civil

Procedure (“FRCP”) 23, on behalf of himself and all other persons similarly-situated during the

applicable NYLL limitations period who suffered damages as a result of Defendants’ violations of

the NYLL and the NYCRR.



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                                  JURISDICTION AND VENUE

        7.       The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, as this action

arises under 29 U.S.C. § 201, et seq. The supplemental jurisdiction of the Court is invoked pursuant

to 28 U.S.C. § 1367 over all claims arising under New York law.

        8.       Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(2), as a

substantial part of the events or omissions giving rise to the claims for relief occurred within this

judicial district.

                                              PARTIES

        9.       At all relevant times herein, Plaintiff worked for Defendants in New York and was

an “employee” entitled to protection as defined by the FLSA, the NYLL, and the NYCRR.

        10.      At all relevant times herein, Food Universe was and is a New York corporation

with its principal place of business located at 60 West 183rd Street, Bronx, New York 10453.

        11.      At all relevant times herein, Defendant Espinal was and is Food Universe’s Chief

Executive Officer and owner. In this role, Defendant Espinal oversaw Food Universe’s operations,

paid employees, and had the power to hire and fire and approve all personnel decisions with respect

to all of Food Universe’s employees, including all stockers. In fact, Defendant Espinal hired

Plaintiff and was responsible for paying Plaintiff.

        12.      At all relevant times herein, Food Universe was and is an “employer” within the

meaning of the FLSA and NYLL. Additionally, Food Universe’s qualifying annual business

exceeded and exceeds $500,000.00, and Food Universe was and is engaged in interstate commerce

within the meaning of the FLSA, as it employs two or more employees and buys and sells produce

and other food items in the course of its business, which originate in states other than New York,

as well as accepts credit card payments from customers for their purchases, the combination of



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which subjects Defendants to the FLSA’s requirements as an enterprise.

                          COLLECTIVE ACTION ALLEGATIONS

       13.     Plaintiff seeks to bring this suit to recover from Defendants unpaid overtime

compensation and liquidated damages, pursuant to the applicable provisions of the FLSA, 29

U.S.C. § 216(b), on his own behalf, as well as on behalf of those in the following collective:

               Current and former non-managerial employees, who at any time
               during the applicable FLSA limitations period, performed any work
               for Defendants at 60 West 183rd Street, Bronx, New York and 2358
               University Avenue, Bronx, New York 10468 that were or are owned
               and/or operated by Defendants, and who consent to file a claim to
               recover damages for overtime compensation and liquidated
               damages that are legally due to them (“FLSA Plaintiffs”).

       14.     Defendants treated Plaintiff and all FLSA Plaintiffs similarly in that Plaintiff and

all FLSA Plaintiffs: (1) performed similar tasks, as described in the “Background Facts” section

below; (2) were subject to the same laws and regulations; (3) were paid in the same or similar

manner; (4) were required to work in excess of forty hours in a workweek; and (5) were not paid

the required one and one-half times their respective regular rates of pay for all hours worked per

workweek in excess of forty.

       15.     At all relevant times, Defendants are and have been aware of the requirements to

pay Plaintiff and all FLSA Plaintiffs at an amount equal to the rate of one and one-half times their

respective regular rates of pay for all hours worked each workweek above forty, yet they

purposefully and willfully chose and choose not to do so.

       16.     Thus, Plaintiff and all FLSA Plaintiffs are victims of Defendants’ pervasive

practice of willfully refusing to pay their employees overtime compensation for all hours worked

per workweek above forty, in violation of the FLSA.




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                               RULE 23 CLASS ALLEGATIONS

          17.   In addition, Plaintiff seeks to maintain this action as a class action pursuant to FRCP

23(b)(3), on behalf of himself, as well as on behalf of all those who are similarly-situated that

Defendants subjected to violations of the NYLL and the NYCRR during the applicable statutory

period.

          18.   Under FRCP 23(b)(3), a plaintiff must plead that:

                a. The class is so numerous that joinder is impracticable;

                b. There are questions of law or fact common to the class that predominate over

                   any individual questions of law or fact;

                c. Claims or defenses of the representative are typical of the class;

                d. The representative will fairly and adequately protect the class; and

                e. A class action is superior to other methods of adjudication.

          19.   Plaintiff seeks certification of the following FRCP 23 class:

                Current and former non-exempt employees, who during the
                applicable NYLL limitations period, performed any work for any of
                the Defendants at 60 West 183rd Street, Bronx, New York and 2358
                University Avenue, Bronx, New York 10468 that were or are owned
                and/or operated by Defendants, or any of their successors-in-
                interest, in New York (“Rule 23 Plaintiffs”).

                                             Numerosity

          20.   During the previous six years, Defendants have employed, in total, at least forty

employees that are putative members of this class.

                              Common Questions of Law and/or Fact

          21.   There are common questions of law and fact that govern the claims of each and

every Rule 23 Plaintiff and that predominate over any questions solely affecting individual



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members of the FRCP 23 class, including but not limited to the following: (1) the duties that

Defendants required and require each Rule 23 Plaintiff to perform; (2) whether Defendants

required and require each Rule 23 Plaintiff to work in excess of forty hours per week; (3) whether

Defendants compensated and compensate the Rule 23 Plaintiffs at the legally-mandated rate of

one and one-half times their respective regular rates of pay for all hours worked per week over

forty; (4) whether Defendants furnished and furnish the Rule 23 Plaintiffs with accurate wage

statements on each payday containing the information required by NYLL § 195(3); (5) whether

Defendants kept and maintained records with respect to each hour that the Rule 23 Plaintiffs

worked; (6) whether Defendants kept and maintained records with respect to the compensation

that they paid to the Rule 23 Plaintiffs; (7) whether Defendants maintain any affirmative defenses

with respect to the Rule 23 Plaintiffs’ claims; (8) whether Defendants’ actions with respect to the

Rule 23 Plaintiffs were in violation of the NYLL and its supporting regulations; and (9) if so, what

constitutes the proper measure of damages.

                               Typicality of Claims and/or Defenses

       22.     As described in the “Background Facts” section below, Defendants employed

Plaintiff and Rule 23 Plaintiffs as stockers. Plaintiff’s claims are typical of the claims of the Rule

23 Plaintiffs whom Plaintiff seeks to represent, as Plaintiff and the Rule 23 Plaintiffs work and/or

have worked for Defendants in New York in excess of forty hours per week, yet Defendants

routinely failed and fail to pay them at the rate of time and one-half their respective regular rates

of pay, while also failing to provide them with accurate wage statements on each payday. Plaintiff

and the Rule 23 Plaintiffs enjoy the same statutory rights under the NYLL to be paid at the rate of

one and one-half times their regular rates for all hours worked per week in excess of forty, and to

be furnished with accurate wage statements on each payday. Plaintiff and the Rule 23 Plaintiffs



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have all sustained similar types of damages as a result of Defendants’ failure to comply with the

NYLL and its supporting regulations. Plaintiff and the Rule 23 Plaintiffs have all suffered injury,

including lack of compensation or under-compensation, due to Defendants’ common policies,

practices, and patterns of conduct. Thus, Plaintiff’s claims and/or Defendants’ defenses to those

claims are typical of the Rule 23 Plaintiffs’ claims and Defendants’ defenses to those claims.

                                               Adequacy

        23.     Plaintiff, as described below, worked the same or similar hours as the Rule 23

Plaintiffs throughout his employment with Defendants. Defendants did not pay Plaintiff overtime

pay for all of his hours worked over forty each week or furnish him with accurate wage statements

on each payday, which is substantially similar to how the Defendants paid and treated the Rule 23

Plaintiffs. Plaintiff is no longer employed with Defendants, and thus has no fear of retribution for

his testimony. Plaintiff fully anticipates testifying under oath and providing discovery responses

as to all of the matters raised in this Complaint and that will be raised in Defendants’ Answer that

pertain to him. Thus, Plaintiff would properly and adequately represent the current and former

employees whom Defendants have subjected to the treatment alleged herein.

        24.     Additionally, Plaintiff’s counsel has substantial experience in this field of law.

                                              Superiority

        25.     Plaintiff has no, or very few, material facts relating to the Rule 23 Plaintiffs’ claims

that are atypical of those of the putative class. Indeed, at all relevant times herein, Defendants

treated Plaintiff identically, or at the very least, substantially similarly, to the Rule 23 Plaintiffs.

        26.     Any lawsuit brought by any stocker who worked for Defendants in any of the

supermarkets owned and/or operated by Defendants for the same violations alleged herein would

be identical to a suit brought by any other similar employee for the same violations. Thus, separate



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litigation would risk inconsistent results.

       27.     Accordingly, the means of protecting Rule 23 Plaintiffs’ rights is superior to any

other method, and this action is properly maintainable as a class action under FRCP 23(b)(3).

                                     BACKGROUND FACTS

       28.     Food Universe is a corporation that owns and operates a supermarket chain with

multiple stores located in Bronx, New York.

       29.     Defendants employed Plaintiff as a non-managerial stocker from on or about

February 2, 2020 until July 15, 2020, during which period he worked at two of Defendants’

supermarkets, one located at 60 West 183rd Street, Bronx, New York and the other located at 2358

University Avenue, Bronx, New York 10468.

       30.     As a stocker, Plaintiff was responsible for manual tasks, such as washing, cutting,

handling, and stocking produce in the supermarket.

       31.     During his employment, Plaintiff routinely worked six (6) days per week,

commencing his work each day at approximately 7:00 a.m. and working until approximately 3:00

p.m. each day without any uninterrupted meal break. Although Defendants did not permit Plaintiff

to take an uninterrupted meal break on each day, Defendants nonetheless automatically deducted

one hour each day from Plaintiff’s hours worked. Thus, Plaintiff routinely worked for Defendants

approximately forty-eight (48) hours per workweek.

       32.     For his work, Defendants paid Plaintiff a weekly salary of $1,000.00, with $300.00

paid by check and $700.00 paid by cash. Defendants, therefore, paid Plaintiff at a regular rate of

$20.83 per hour but failed to pay Plaintiff the statutorily required overtime rate of $31.25 for the

hours that Plaintiff worked over forty each week.

       33.     By way of example only, for five days during the week of July 10 to July 16, 2020,



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Plaintiff worked each day except for Wednesday, from 7:00 a.m. to 3:00 p.m., without any

uninterrupted meal break, totaling forty-eight (48) hours worked that week. For his work during

this specific workweek, Defendant paid Plaintiff for $1,000.00 per week, with $300.00 paid by

check and $700,00 paid by cash, but failed to pay Plaintiff at the statutorily required overtime rate

of $31.25 for the eight (8) hours that Plaintiff worked in excess of forty that week. The foregoing

example is representative of Plaintiff’s hours and compensation throughout his employment with

Defendants.

       34.     Defendants paid Plaintiff on a weekly basis by both check and cash.

       35.     On each occasion when Defendants paid Plaintiff, Defendants failed to provide

Plaintiff with a wage statement that accurately listed Plaintiff’s actual hours worked for that week.

       36.     Upon Plaintiff’s hire, Defendants failed to furnish Plaintiff with any wage notice

whatsoever, let alone one that accurately listed his regular and overtime rate of pay or whether he

was to be paid by the hour, shift, day, week, salary or on some other basis.

       37.     Defendants treated Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs in the manner

described herein.

       38.     Defendants acted in the manner described herein to maximize their profits while

minimizing their labor costs and overhead.

       39.     Each hour that Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs worked was for

Defendants’ benefit.

                    FIRST CLAIM FOR RELIEF AGAINST DEFENDANTS
                              Unpaid Overtime Under the FLSA

       40.     Plaintiff and FLSA Plaintiffs repeat, reiterate, and re-allege each and every

allegation set forth above with the same force and effect as if more fully set forth herein.




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        41.     29 U.S.C. § 207(a) requires employers to compensate their employees at a rate not

less than one and one-half times their regular rates of pay for all hours worked exceeding forty in

a workweek.

        42.     As described above, Defendants are employers within the meaning of the FLSA,

while Plaintiff and FLSA Plaintiffs are employees within the meaning of the FLSA.

        43.     As also described above, Plaintiff and FLSA Plaintiffs worked in excess of forty

hours in a workweek, yet Defendants failed to compensate them in accordance with the FLSA’s

overtime provisions.

        44.     Defendants willfully violated the FLSA.

        45.     Plaintiff and FLSA Plaintiffs are entitled to overtime pay for all hours worked per

week in excess of forty at the rate of one and one-half times their respective regular rates of pay.

        46.     Plaintiff and FLSA Plaintiffs are also entitled to liquidated damages and attorneys’

fees for Defendants’ violations of the FLSA’s overtime provisions.

                     SECOND CLAIM FOR RELIEF AGAINST DEFENDANTS
                         Unpaid Overtime Under the NYLL and the NYCRR

        47.     Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts into this action,

repeat, reiterate, and re-allege each and every allegation set forth above with the same force and

effect as if more fully set forth herein.

        48.     NYLL § 160 and 12 NYCRR § 142-2.2 require employers to compensate their

employees at a rate not less than one and one-half times their regular rates of pay for all hours

worked exceeding forty in a workweek.

        49.     As described above, Defendants are employers within the meaning of the NYLL

and the NYCRR, while Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts into this

action, are employees within the meaning of the NYLL and the NYCRR.

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        50.     As also described above, Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who

opts into this action, worked in excess of forty hours in a workweek, yet Defendants failed to

compensate them in accordance with the NYLL’s and the NYCRR’s overtime provisions.

        51.     Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts into this action, are

entitled to their overtime pay for all hours worked per week in excess of forty at the rate of one

and one-half times their respective regular rates of pay.

        52.     Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts into this action, are

also entitled to liquidated damages, interest, and attorneys’ fees for Defendants’ violations of the

NYLL’s and the NYCRR’s overtime provisions.

                      THIRD CLAIM FOR RELIEF AGAINST DEFENDANTS
                   Failure to Furnish Proper Wage Statements in Violation of the NYLL

        53.     Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts into this action,

repeat, reiterate, and re-allege each and every allegation set forth above with the same force and

effect as if more fully set forth herein.

        54.     NYLL § 195(3) requires that employers furnish employees with wage statements

containing accurate, specifically enumerated criteria on each occasion when the employer pays

wages to the employee.

        55.     As described above, Defendants, on each payday, failed to furnish Plaintiff, Rule

23 Plaintiffs, and any FLSA Plaintiff who opts into this action, with accurate wage statements

containing the criteria required under the NYLL.

        56.     Prior to February 27, 2015, pursuant to NYLL § 198(1-d), Defendants are liable to

Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts into this action, in the amount of

$100 for each workweek after the violation occurred, up to a statutory cap of $2,500.

        57.     On or after February 27, 2015, pursuant to NYLL § 198(1-d), Defendants are liable

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to Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts into this action, in the amount of

$250 for each workday after the violation occurred, up to a statutory cap of $5,000.

                    FOURTH CLAIM FOR RELIEF AGAINST DEFENDANTS
                    Failure to Furnish Proper a Wage Notice in Violation of the NYLL

        58.     Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts into this action,

repeat, reiterate, and re-allege each and every allegation set forth above with the same force and

effect as if more fully set forth herein.

        59.     NYLL § 195(1) requires that employers furnish employees with a notice upon hire,

containing accurate, specifically enumerated criteria.

        60.     As described above, Defendants, upon hire, failed to furnish Plaintiff, Rule 23

Plaintiffs, and any FLSA Plaintiff who opts into this action, with an accurate wage notice

containing the criteria required under the NYLL.

        61.     Prior to February 27, 2015, pursuant to NYLL § 198(1-b), Defendants are liable to

Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts into this action, in the amount of

$50 for each workweek after the violation occurred, up to a statutory cap of $2,500.

        62.     On or after February 27, 2015, pursuant to NYLL § 198(1-b), Defendants are liable

to Plaintiff, Rule 23 Plaintiffs, and any FLSA Plaintiff who opts into this action, in the amount of

$50 for each workday after the violation occurred, up to a statutory cap of $5,000.

                                 DEMAND FOR A JURY TRIAL

        63.     Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff, FLSA Plaintiffs, and

Rule 23 Plaintiffs demand a trial by jury in this action.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs demand judgment

against Defendants as follows:

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          a.       A judgment declaring that the practices complained of herein are unlawful and in

willful violation of the aforementioned United States and New York State laws;

          b.       Preliminary and permanent injunctions against Defendants and their officers,

owners, agents, successors, employees, representatives, and any and all persons acting in concert

with them, from engaging in each of the unlawful practices, policies, customs, and usages set forth

herein;

          c.       An order restraining Defendants from any retaliation against Plaintiff, FLSA

Plaintiffs, and/or Rule 23 Plaintiffs for participation in any form in this litigation;

          d.       Designation of this action as an FLSA collective action on behalf of Plaintiff and

FLSA Plaintiffs and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to the FLSA

Plaintiffs, apprising them of the pendency of this action, permitting them to assert timely FLSA

claims in this action by filing a form consenting to join the lawsuit pursuant to 29 U.S.C. § 216(b),

and tolling of the statute of limitations;

          e.       Certification of the claims brought in this case under the NYLL and the NYCRR

as a class action pursuant to FRCP 23;

          f.       All damages that Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs have sustained

as a result of Defendants’ conduct, including all unpaid wages and any short fall between wages

paid and those due under the law that Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs would have

received but for Defendants’ unlawful payment practices;

          g.       Liquidated damages and any other statutory penalties as recoverable under the

FLSA and the NYLL;




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       h.       Awarding Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs their reasonable

attorneys’ fees, as well as their costs and disbursements incurred in connection with this action,

including expert witness fees and other costs, and a service award to Plaintiff;

       i.       Designation of Plaintiff and Plaintiff’s counsel as collective and class action

representatives under the FLSA and the FRCP;

       j.       Pre-judgment and post-judgment interest, as provided by law; and

       k.       Granting Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs such other and further

relief as this Court finds necessary and proper.

Dated: New York, New York
       September 25, 2020

                                                        Respectfully submitted,

                                                        Stevenson Marino LLP
                                                        Attorneys for Plaintiff
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                                                        New York, New York 10038
                                                        (212) 939-7229

                                              By:
                                                        Jeffrey R. Maguire (JM 1982)




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